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                                              VERDICT


 When completing this Verdict Form, please follow the provided directions very closely.


 Your answer to çç question must be unanimous.


 Some of the questions contain legal terms. Those terms are defined and explained in the Jury
 Instructions, which you should consult if you are unsure about the meaning of any term.


 To assist you, each question identifies which answer supports Biogen and which supports Serono
 and/or Pfizer.




 We, the jury, unanimously agree to the answers to the following questions and return them under
 the instructions of this Court as our verdict in this case.

 A. Direct Infringement

  1. Do you find, by a preponderance of the evidence, that when healthcare professionals and/or
     patients administer or self-administer Rebif for the treatment of Multiple Sclerosis they directly
     infringe the asserted claims of the ‘755 patent?


                               Yes   —        (for Biogen)

                               No    —        (for Serono & Pfizer)


        If yottr answer to Question 11$ “Yes”, continue to Question 2. If your answer is “No”, do
        not continue to Question 2, but instead proceed to Question 9.




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 B. Inducement of Infringement

  2. Do you find, by a preponderance of the evidence, that Serono has actively induced healthcare
     professionals and/or patients to directly infringe the asserted claims of the ‘755 patent?


                                Yes   —         (for Biogen)

                                No     V        (for Serono)

         Ifyour answer to Question 2 is “Yes continue to Question 3. If your answer is “No
                                               “,
                                                                                                  “,   do
         not continue to Question 3, but instead proceed to Question 6.


 3. Do you find, by a preponderance of the evidence, that it is unreasonable to read the ‘755 patent
    claims to require three steps (transformation of the non-human host cell, production of the
    recombinant polypeptide, and administration) as opposed to only a single step (of
    administration)?

                                Yes             (for Biogen)

                                No              (for Serono)


  4. Do you find, by a preponderance of the evidence, that for at least some time period Serono
     lacked a good faith belief that its acts did not induce direct infringement of the asserted claims
     of the ‘755 patent?

                                Yes            (for Biogen)

                                No             (for Serono)


  5. If you find that Serono lacked a (1) reasonable and (2) good faith belief that its acts did not
     induce direct infringement, over what span of time do you find that Serono lacked such a
     belief?

        Please specify:




                                                    2
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  6. Do you find, by a preponderance of the evidence, that Pfizer has actively induced healthc are
     professionals and/or patients to directly infringe the asserted claims of the ‘755 patent?


                               Yes            (for Biogen)

                               No _/“         (for Pfizer)



 C. Contributory Infringement

  7. Do you find, by a preponderance of the evidence, that Serono has contributed to the direct
     infringement of the asserted claims of the ‘755 patent by healthcare professionals and/or
     patients by selling or offering to sell Rebif?

                               Yes   _“       (for Biogen)

                               No             (for Serono)

  8. Do you find by a preponderance of the evidence that Pfizer has contributed to the direct
     infringement of the asserted claims of the ‘755 patent by healthcare professionals and/or
     patients by selling or offering to sell Rebif?

                               Yes            (for Biogen)

                               No             (for Pfizer)


 E. Validity

 (Obviousness)

  9. Do you find, by clear and convincing evidence, that the claims of the ‘755 patent are invalid as
     obvious in view of the activities of Dr. Tadatsugu Taniguchi, Dr. Jan Vil&k, Dr. David
     Goeddel, or other prior art?

                               Yes   —        (for Serono & Pfizer)

                              No     —        (for Biogen)




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  (Written Description)

   10. Do you find, by clear and convincing evidence, that the claims of the ‘755 patent are invalid for
       lack of adequate written description of the claimed methods of treatment in the specification of
       the ‘755 patent?

                                                      Yes                      No
                                           (for Serono & Pfizer)           (for Biogen)
                   a)       Claim 1                                             V
                   b)      Claim 2                                              /
                   c)      Claim 3                                              7”

 (Enablement)

  11. Do you find, by clear and convincing evidence, that one or more of the claims of the ‘755
      patent are invalid for lack of enablement of the claimed methods of treatment by the
      specification of the ‘755 patent?

                                                   Yes                         No
                                          (for Serono & Pfizer)           (for Biogen)
                  a)       Claim 1
                  b)       Claim2                                               V
                  c)       Claim3


 (Anticipation)

 12. Do you find, by clear and convincing evidence, that the claims of the ‘755 patent are invalid as
     anticipated by prior art uses of native human interferon-beta?

                               Yes    —       (for Serono & Pfizer)

                               No     —       (for Biogen)

        If your answer to y of thefottowing four options is “Yes,” do not continue to Question 13
        but instead sign the verdictform and return it to the Court:
            • Question 9
            • Question 10(a) AND 10(b) (that is, “Yes,” to both)
            • Question 11(a) AND 11(b) (that is, “Yes,” to both)
            • Question 12

        Otherwise, continue to Question 13.


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 E. Damages

 (Lost Profits)

  13. Do you find by a preponderance of the evidence that Biogen is entitled to
                                                                                an      award of lost
      profits?


                                  Yes            (for Biogen)


                                  No    —       (for Serono & Pfizer)



           Ifyour answer to Question 13 is “No,” then do not answer Questions 14 through 17, and
           skip to Question 18.


  14. What is the amount of lost profits to which Biogen is entitled?


        Answer in dollars:   $___________________
                                                    __________




  15.   Of the amount in your answer to Question 14, what is the portion for the period
                                                                                        July 1, 2010
        through December 31, 2015, if any?


    Answer in dollars:       $___________________
                                                    __________




  16. For the infringing sales of Rebif for which Biogen is not entitled to lost profits,
                                                                                          what is the
      reasonable royalty that would compensate Biogen with respect to those
                                                                                 sales?



    Answer in dollars: $


  17. Of the  amount in your answer to Question   16,   what is the portion for the period July   1, 2010
        through December 31, 2015, if any?


    Answer in dollars:       $___________________
                                                  ___________




If you answered Question 17, do not continue to Question 18 but instead sign the verdict form and
return it to the Court




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  (Reasonable Royalty)

  1$. In the hypothetical negotiation just before infringement began, what “royalty rate”
                                                                                           do you find,
      by a preponderance of the evidence, Biogen and Serono would have agreed to as reason
                                                                                                able
      compensation to Biogen for Serono’s and Pfizer’s infringement of the ‘755 patent
                                                                                          in the United
      States?

     Answer in a percentage:    __%




                                                *****


 You have now reached the end of the verdict form and should review it to ensure it
                                                                                      accurately
 reflects your unanimous determinations. The Presiding Juror should then sign and date
                                                                                          the verdict
 form in the spaces below and notify the Courtroom Deputy that you have reached a
                                                                                      verdict. The
 Presiding Juror should retain possession of the verdict form and bring it when the
                                                                                    jury is brought
 back into the courtroom.


 Certification of Jury Verdict:
                                              Juoreperson




                                              Date




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